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                                                         1021

Viviana Gonzalez Gomez

From:                Joshua Mello <kskustomsrideons@gmail.com>
Sent:                Thursday, February 13, 2025 9:46 AM
To:                  RID_ECF_INTAKE
Subject:             Affidavit for case 23-cv-00479 & 00480
Attachments:         AFFIDAVIT OF RACHEL WARE-2.pdf

Categories:          Being Worked on VGG



CAUTION - EXTERNAL:


Good Morning,

My apologies on the confusion. Here is the affidavit that goes with the audio file uploaded to box.com for case 23‐cv‐
00479 & 00480.

This is part of our motion for reconsideration.

Thank You,
Rachel
 CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
 attachments or clicking on links.




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